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                                               August 8, 2024

 VIA ECF
 Honorable Brian R. Martinotti, U.S.D.J.
 United States District Court
 District of New Jersey
 U.S. Post Office & Courthouse
 2 Federal Square
 Newark, New Jersey 07102
        Re:     In re: Insulin Pricing Litigation, 2:23-md-03080-BRM-RLS
                MDL No. 3080

 Dear Judge Martinotti:

         In accordance with Paragraph 4(b) of MDL Case Management Order #1, we write on
 behalf of all parties to provide the following agenda for the case-management conference
 scheduled for 11:00 a.m. on Tuesday, August 13, 2024.

         1.      Self-Funded Payer Track: Discovery Process. Consistent with Section II.F of
  Judge Singh’s June 7, 2024 Case Management Order #10 (Initial Discovery Plan), the parties
  have conferred regarding Master Discovery Requests and Plaintiff Fact Sheets. See ECF No.
  198. Plaintiffs in the Self-Funded Payer Track have also proposed separate Defendant Fact
  Sheets directed to the Manufacturer and PBM Defendants. Despite several conferrals, the
  parties have not been able to reach agreement on those documents. The parties anticipate that
  they will need to submit briefing to the Court regarding these issues in the near future.

         2.       State Attorney General Track: Discovery on Plaintiffs. On June 28, 2024,
  Plaintiffs in the State Attorney General Track and Defendants submitted position papers setting
  forth those parties’ respective positions on whether discovery on the plaintiffs in this track
  should proceed via Plaintiff Fact Sheets or master discovery requests. (ECF Nos. 220, 222).
  Plaintiffs requested oral argument.

          3.      Third-Party Payer Class Track: Proposed Consolidation. On June 5,
  2024, certain Plaintiffs in this track and plaintiffs in In re Direct Purchaser Insulin Pricing
  Litigation filed a letter seeking to consolidate the Direct Purchaser action with certain plaintiffs
  in this track, replace the existing Third-Party Payer Class Track with a track denominated the
  “Direct Purchaser Class Track,” and appoint a leadership structure for the track. (ECF No.
  195). On June 12, 2024, Defendants submitted a response (ECF No. 210), and on June 20, 2024,
  Plaintiffs filed a reply (ECF No. 216). Plaintiffs welcome the opportunity to discuss the status
  of their proposal with the Court.

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          Also enclosed for the Court’s reference is a current MDL case list. We thank the Court
 for its continued attention to this matter.
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                                          Respectfully submitted,
       s/ James E. Cecchi                   s/ David R. Buchanan
       James E. Cecchi                      David R. Buchanan
       Liaison Counsel for                  Liaison Counsel for
       Third-Party Payer Class Track        Self-Funded Payer Track

       s/ Joanne Cicala                     s/ John D. Tortorella
       Joanne Cicala                        John D. Tortorella
       Liaison Counsel for
       State Attorney General Track

 Enclosure
 cc:    Honorable Rukhsanah L. Singh, U.S.M.J. (via ECF)
        Counsel of Record (via ECF)




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                                           In re Insulin Pricing Litigation (MDL No. 3080)
                                                 Case No. 2:23-md-03080-BRM-RLS
                                                    Case List as of August 8, 2024

     #   Case Name                                                                            Case No.
                                                     Self-Funded Payer Track Cases
1        County of Monmouth, New Jersey v. Eli Lilly and Company, et al.                      2:23-cv-03916
2        Cattaraugus County, New York v. Eli Lilly and Company, et al.                        2:23-cv-04384
3        Jackson County, Missouri v. Eli Lilly and Company, et al.                            2:23-cv-04531
4        City of Cleveland, Ohio v. Eli Lilly and Company, et al.                             2:23-cv-04544
5        County of Albany, New York v. Eli Lilly and Company, et al.                          2:23-cv-07042
6        Lake County, Illinois v. Eli Lilly and Company, et al.                               2:23-cv-08487
7        Bossier Parish v. Eli Lilly and Company, et al.                                      2:23-cv-10910
8        Steuben County, New York v. Eli Lilly and Company, et al.                            2:23-cv-18249
9        Cortland County, New York v. Eli Lilly and Company, et al.                           2:23-cv-18314
10       Livingston County, New York v. Eli Lilly and Company, et al.                         2:23-cv-18351
11       Schenectady County, New York v. Eli Lilly and Company, et al.                        2:23-cv-20375
12       Cuyahoga County v. Eli Lilly and Company, et al.                                     2:23-cv-21082
13       King County v. Eli Lilly and Company, et al.                                         2:23-cv-21178
14       Pinellas County, Florida v. Eli Lilly and Company, et al.                            2:23-cv-21381
15       City of Alexandria, Virginia v. Eli Lilly and Company, et al.                        2:23-cv-22769
16       County Board of Arlington County, Virginia v. Eli Lilly and Company, et al.          2:23-cv-22776
17       Spokane County v. Eli Lilly and Company, et al.                                      2:23-cv-22847




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     #   Case Name                                                                                           Case No.
18       Board of County Commissioners of Washington County, Maryland v. Eli Lilly and Company, et al.       2:23-cv-22917
19       Henrico County, Virginia v. Eli Lilly and Company, et al.                                           2:23-cv-23042
20       The Board of County Commissioners of St. Mary's County, Maryland v. Eli Lilly and Company, et al.   2:23-cv-23090
21       Anne Arundel County, Maryland v. Eli Lilly and Company, et al.                                      2:24-cv-00384
22       County of Wayne, Michigan v. Eli Lilly and Company, et al.                                          2:24-cv-00523
23       City of Roanoke, Virginia et al. v. Eli Lilly and Company, et al.                                   2:24-cv-00559
24       Erie County, New York v. Eli Lilly and Company, et al.                                              2:24-cv-00632
25       Onondaga County, New York v. Eli Lilly and Company, et al.                                          2:24-cv-00646
26       Niagara County, New York v. Eli Lilly and Company, et al.                                           2:24-cv-00652
27       Broome County, New York v. Eli Lilly and Company, et al.                                            2:24-cv-00692
28       Oneida County, New York v. Eli Lilly and Company, et al.                                            2:24-cv-00694
29       Washtenaw County, Michigan, et al. v. Eli Lilly and Company, et al.                                 2:24-cv-00717
30       Macomb County, Michigan v. Eli Lilly and Company, et al.                                            2:24-cv-00719
31       Monroe County, Michigan v. Eli Lilly and Company, et al.                                            2:24-cv-00720
32       LDG Medical Services Group, L.L.C., et al. v. Eli Lilly and Company, et al.                         2:24-cv-00725
33       Warren County, New York v. Eli Lilly and Company, et al.                                            2:24-cv-00992
34       St. Louis County, Missouri v. Eli Lilly and Company, et al.                                         2:24-cv-04615
35       Mayor & City Council of Baltimore v. Eli Lilly & Company, et al.                                    2:24-cv-05099
36       City of Lorain, Ohio v. Eli Lilly and Company, et al.                                               2:24-cv-05002
37       Commonwealth of Pa. ex rel. Lawrence S. Krasner v. Eli Lilly and Company, et al.                    2:24-cv-05391
38       Clark County v. Eli Lilly and Co., et al.                                                           2:24-cv-06568
39       Heat and Frost Insulators Local No. 33 Health Fund v. Eli Lilly and Company, et al.                 2:24-cv-06233


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     #   Case Name                                                                                         Case No.
40       Int’l Union of Operating Engineers Local No. 478 Health Fund v. Eli Lilly and Company, et al.     2:24-cv-06303
41       Int’l Union of Operating Engineers Welfare Fund of Eastern Pa. v. Eli Lilly and Company, et al.   2:24-cv-06312
42       Board of Supervisors of Accomack County v. Eli Lilly and Company, et al.                          2:24-cv-06329
43       City of Portsmouth, Virginia v. Eli Lilly and Company, et al.                                     2:24-cv-06331
44       Hamblen County, TN v. v. Eli Lilly and Company, et al.                                            2:24-cv-06456
45       Greene County, Tennessee v. Eli Lilly and Company, et al.                                         2:24-cv-06919
46       City of Marietta, Georgia v. Eli Lilly and Company, et al.                                        2:24-cv-06949
47       Johnson County, Tennessee v. Eli Lilly and Company, et al.                                        2:24-cv-06973
48       Cocke County, Tennessee v. Eli Lilly and Company, et al.                                          2:24-cv-06980
49       Kentucky Laborers District Council Health and Welfare Fund v. Eli Lilly and Company, et al.       2:24-cv-07091
50       Iron Workers’ Locals No. 14 and 434 Extended Benefit Fund v. Eli Lilly and Company, et al.        2:24-cv-07720
51       Ulster County v. Eli Lilly and Company, et al.                                                    2:24-cv-07854
52       Virginia Beach, Virginia v. Eli Lilly and Company, et al.                                         2:24-cv-07885
53       Parish Government Risk Management Agency v. Eli Lilly and Company, et al.                         2:24-cv-08097
54       County of Whitfield, Georgia v. Eli Lilly and Company, et al.                                     2:24-cv-08235
55       City of Hialeah, Florida v. Eli Lilly and Company, et al.                                         2:24-cv-08327
                                                      State Attorney General Track Cases
1        State of Montana, ex rel. Austin Knudsen v. Eli Lilly and Company, et al.                         2:23-cv-04214
2        State of Kansas, ex rel., Kris W. Kobach, Attorney General v. Eli Lilly and Company, et al.       2:23-cv-04219
3        State of Arkansas, ex rel. Tim Griffin, Attorney General v. Eli Lilly and Company et al.          2:23-cv-04239
4        State of Illinois, ex rel. Raoul v. Eli Lilly and Company et al.                                  2:23-cv-04242
5        State of Mississippi, ex rel. Lynn Fitch Attorney General v. Eli Lilly and Company et al.         2:23-cv-04364


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     #   Case Name                                                                                                    Case No.
6        State of Kentucky, ex rel. Daniel Cameron v. Novo Nordisk Inc., et al.                                       2:23-cv-21374
7        The State of Louisiana v. Sanofi-Aventis U.S. LLC et al.                                                     2:23-cv-22978
8        Arizona v. Optum Incorporated et al.                                                                         2:24-cv-00260
9        State of Utah et al. v. Eli Lilly and Company et al.                                                         2:24-cv-00536
10       State of Indiana v. Express Scripts Administrators, et al.                                                   2:24-cv-06068
11       State of Louisiana v. Eli Lilly and Company, et al.                                                          2:24-cv-07048
12       State of Oklahoma ex rel. Drummond v. Eli Lilly and Company, et al.                                          2:24-cv-07606
                                                     Third-Party Payer Class Track Cases
1        Sheet Metal Workers Local No. 25 Health and Welfare Fund v. Eli Lilly and Company, et al.                    2:23-cv-14371
2        Local 464A UFCW Welfare Services and Benefit Funds individually and on behalf of all other similarly         2:23-cv-20842
         situated v. Eli Lilly and Company, et al.
3        Local 837 Health and Welfare Plan, individually and on behalf of all other similarly situated v. Eli Lilly   2:23-cv-20932
         and Company, et al.
4        Local No. 1 Health Fund, and Plan of Benefits for the Local No. 1 Health Fund, individually and on           2:23-cv-21160
         behalf of all others similarly situated v. Eli Lilly and Company, et al.
5        Indiana/Kentucky/Ohio Regional Council of Carpenters Welfare Fund, individually and on behalf of all         2:23-cv-22305
         others similarly situated v. Eli Lilly and Company, et al.




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